Case 21-03000-sgj Doc 13-8 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 1 of 6




                               EXHIBIT H
Case 21-03000-sgj Doc 13-8 Filed 01/09/21           Entered 01/09/21 18:45:04        Page 2 of 6

                                                                            EXECUTION COPY


                           SUPPLEMENTAL INDENTURE NO. 1
                              (Aberdeen Loan Funding, Ltd.)

        THIS SUPPLEMENTAL INDENTURE NO. 1 (this “Supplemental Indenture”), dated
as of September 11, 2008 , is entered into in connection with that certain Indenture, dated as of
March 27, 2008 (as amended, supplemented, restated or replaced from time to time, the
“Indenture”), by and among ABERDEEN LOAN FUNDING, LTD., an exempted company
incorporated with limited liability under the laws of the Cayman Islands (the “Issuer”),
ABERDEEN LOAN FUNDING CORP., a Delaware corporation (the “Co-Issuer” and, together
with the Issuer, the “Co-Issuers”), and STATE STREET BANK AND TRUST COMPANY, a
trust company formed under the laws of The Commonwealth of Massachusetts, as trustee
(herein, together with its permitted successors in the trusts hereunder, called the “Trustee”).
Capitalized terms used and not otherwise defined herein shall have the meanings given to such
terms in the Indenture.

                                        RECITALS

       WHEREAS, the above-named parties have entered into the Indenture and, pursuant to
and in accordance with Section 8.1 thereof, desire to amend the Indenture in certain respects as
provided herein;

        NOW, THEREFORE, based upon the above Recitals, the mutual premises and
agreements contained herein, and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the undersigned, intending to be legally bound,
hereby agree as follows:

        SECTION 1. AMENDMENT.

       (a)    In Section 1.1 of the Indenture, the definition of “Deep Discount Obligation” is
hereby amended by deleting the word “or” in the fourth line and replacing it with the words
“except for”.

        SECTION 2. AGREEMENT IN FULL FORCE AND EFFECT AS AMENDED.

        Except as specifically amended hereby, all provisions of the Indenture shall remain in full
force and effect. This Supplemental Indenture shall not be deemed to expressly or impliedly
waive, amend or supplement any provision of the Indenture other than as expressly set forth
herein and shall not constitute a novation of the Indenture.

        SECTION 3. REPRESENTATIONS.

       Each of the Co-Issuers represents and warrants as of the date of this Supplemental
Indenture as follows:

               (i)     it is duly incorporated or organized, validly existing and in good standing
        under the laws of its jurisdiction of incorporation or organization;




14539535.4.BUSINESS
Case 21-03000-sgj Doc 13-8 Filed 01/09/21              Entered 01/09/21 18:45:04    Page 3 of 6




                (ii)   the execution, delivery and performance by it of this Supplemental
        Indenture are within its powers, have been duly authorized, and do not contravene its
        charter, by-laws or other organizational documents, or any applicable law;

                (iii) no consent, license, permit, approval or authorization of, or registration,
        filing or declaration with any governmental authority, is required in connection with the
        execution, delivery, performance, validity or enforceability of this Supplemental
        Indenture by or against it;

                 (iv)   this Supplemental Indenture has been duly executed and delivered by it;

                (v)     this Supplemental Indenture constitutes its legal, valid and binding
        obligation, enforceable against it in accordance with its terms, except as enforceability
        may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or
        similar laws affecting the enforcement of creditors’ rights generally or by general
        principles of equity; and

                 (vi)   it is not in default under the Indenture.

        SECTION 4. CONDITIONS TO EFFECTIVENESS.

        Pursuant to Section 8.1 of the Indenture, as of the date hereof, the Co-Issuers, the
Servicer (on behalf of the Co-Issuers) and/or the Trustee, as required, have received confirmation
in writing that the Rating Condition with respect to each Rating Agency is satisfied with respect
to the Supplemental Indenture. Accordingly, this Supplemental Indenture shall become effective
as of the date hereof.

        SECTION 5. MISCELLANEOUS.

        (a)   This Supplemental Indenture may be executed in any number of counterparts
(including by facsimile or other electronic means), and by the different parties hereto on the
same or separate counterparts, each of which shall be deemed to be an original instrument but all
of which together shall constitute one and the same agreement.

        (b)    The descriptive headings of the various sections of this Supplemental Indenture
are inserted for convenience of reference only and shall not be deemed to affect the meaning or
construction of any of the provisions hereof.

       (c)     This Supplemental Indenture may not be amended or otherwise modified except
as provided in the Indenture.

       (d)     The failure or unenforceability of any provision hereof shall not affect the other
provisions of this Supplemental Indenture.

       (e)     Whenever the context and construction so require, all words used in the singular
number herein shall be deemed to have been used in the plural, and vice versa, and the masculine
gender shall include the feminine and neuter and the neuter shall include the masculine and
feminine.

                                             -2-
14539535.4.BUSINESS
Case 21-03000-sgj Doc 13-8 Filed 01/09/21         Entered 01/09/21 18:45:04      Page 4 of 6




        (f)    This Supplemental Indenture represents the final agreement between the parties
only with respect to the subject matter expressly covered hereby and may not be contradicted by
evidence of prior, contemporaneous or subsequent oral agreements between the parties. There
are no unwritten oral agreements between the parties.

     (g)  THIS SUPPLEMENTAL INDENTURE AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES UNDER THIS SUPPLEMENTAL INDENTURE
SHALL BE GOVERNED BY AND CONSTRUED AND INTERPRETED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK, WITHOUT
REFERENCE TO ITS PROVISIONS THAT WOULD RESULT IN THE APPLICATION
OF THE LAWS OF ANOTHER JURISDICTION.

                         [Remainder of Page Intentionally Left Blank]




                                         -3-
14539535.4.BUSINESS
Case 21-03000-sgj Doc 13-8 Filed 01/09/21         Entered 01/09/21 18:45:04                  Page 5 of 6




        IN WITNESS WHEREOF, the undersigned have caused this Supplemental Indenture to
be executed by their respective officers thereunto duly authorized, as of the date first above
written.



                                           ABERDEEN LOAN FUNDING, LTD., as the
                                           Issuer

                                           By:
                                                 Name:
                                                 Title:

                                           Witnessed by:




                                           ABERDEEN LOAN FUNDING CORP., as the
                                           Co-Issuer

                                           By:
                                                 Name:
                                                 Title:




                                                          [Aberdeen Loan Funding – Supplemental Indenture No. 1]
14539535 BUSINESS
Case 21-03000-sgj Doc 13-8 Filed 01/09/21    Entered 01/09/21 18:45:04                  Page 6 of 6




                                     STATE STREET BANK AND TRUST
                                     COMPANY, as Trustee

                                     By:
                                            Name:
                                            Title:




                                                     [Aberdeen Loan Funding – Supplemental Indenture No. 1]
14539535 BUSINESS
